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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


TOZINE TILLER,                                 :
                       Petitioner              :       Civ. No. 20-452 (RMB)
                                               :         (related to Crim. No. 14-699 (RMB))
        v.                                     :
                                               :
UNITED STATES OF AMERICA,                      :
                Respondent

                                              ORDER


        The petitioner, Tozine Tiller, pro se, having filed a Motion under 28 U.S.C. § 2255 to

vacate, set aside or correct sentence (the "Motion"), and the petitioner having alleged actual

ineffective assistance of counsel on the part of his trial counsel in his underlying criminal case,

and the United States having reviewed the petitioner’s allegations, and the United States having

determined, as a result of that review, that it is necessary to confer with petitioner’s previous

counsel in order to properly respond to the allegations raised; and the United States seeking

sufficient additional time to confer with defense counsel, to allow defense counsel to review and

execute any affidavits that must be submitted in response to the Motion, and for the United

States to prepare a response to Petitioner’s claims; and for good cause shown;

        IT IS THE FINDING OF THIS COURT that by alleging in the Motion that the petitioner

received ineffective assistance of counsel, the petitioner knowingly and voluntarily waived the

attorney-client privilege with regard to each claim of ineffective assistance of counsel.

        IT IS THEREFORE ORDERED on this ____ day of July, 2020, that

1.      The Government may interview and confer with Petitioner’s previous defense attorney

regarding the claims of ineffective assistance of counsel raised in the Motion;

2.      Previous defense counsel shall review their files and provide to the United States all
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relevant documentation concerning the claims of ineffective assistance of counsel raised in the

Motion;

3.      Previous defense counsel shall give testimony, including testimony concerning the claims

of ineffective assistance of counsel raised in the Motion, if the Court orders a Hearing on the

Motion; and

4.      The Respondent shall file an answer to the Petitioner’s Motion by October 30, 2020,




                                                     RENÉE MARIE BUMB
                                                     UNITED STATES DISTRICT JUDGE

At: Camden, NJ




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